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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case Number 04-20038-BC
v.                                                            Honorable Thomas L. Ludington

DONALD NORTON YORK, a/k/a Donald York,
JAMES LAUGHTON,

                  Defendants.
__________________________________________/

           ORDER DENYING DEFENDANT LAUGHTON’S MOTIONS,
     CONCURRED IN BY DEFENDANT YORK, FOR A BILL OF PARTICULARS
               AND FOR DISCLOSURE OF BRADY MATERIALS,
      DENYING DEFENDANT LAUGHTON’S MOTIONS FOR DISCLOSURE
        OF OFFICERS’ NOTES AND FOR SEVERANCE OF DEFENDANTS,
       AND DENYING DEFENDANT YORK’S MOTION FOR DISCOVERY

       On February 8, 2006, the government filed a sixth superseding indictment against

Defendants Donald York, David Tice, and James Laughton. The indictment includes 27 counts,

charging a variety of offenses, including a conspiracy from a time unknown until July 29, 2004, drug

and firearms offenses occurring in 2004, and offenses involving a murder on March 4, 2002. On

May 31, 2007, Defendant Tice entered into a plea agreement with the government.

       On June 26, 2007, Defendants York and Laughton argued several motions before the Court.

These motions include the following: (1) Defendant Laughton’s motion for a bill of particulars,

joined in by Defendant York; (2) Defendant Laughton’s motion for disclosure of materials under

Brady v. Maryland, 373 U.S. 83 (1963), joined in by Defendant York; (3) Defendant Laughton’s

motion for disclosure of any rough notes, rough drafts of summary, incident reports, tape recordings,

or worksheets, above and beyond any summary reports already disclosed; (4) Defendant Laughton’s

motion for severance of the defendants; (5) Defendant York’s motion to compel discovery of the
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complete file from the Federal Bureau of Investigation, the complete crime lab file, an agent’s

investigative notes, the complete file from the Flint Police Department, a meeting with Detective

Frank Sorensen to review the file, and Sorensen’s notes; and (6) Defendant York’s motion in limine

to bar the admission of any evidence relating to an allegedly prejudicial tattoo.

       After a hearing, for reasons stated more fully on the record, the Court denied the first five

of these motions. In particular, the Court was not persuaded that Defendant Laughton offered any

argument distinguishable from those already considered and rejected in the Court’s order of May

7, 2007, which concluded that, in light of Federal Rule of Evidence 801(d)(2)(E), no issue under

Crawford v. Washington, 541 U.S. 36 (2004), and Bruton v. United States, 391 U.S. 123 (1967),

existed that would warrant the severance of the defendants.

       As to Defendant York’s motion in limine, the Court declined to rule on the motion without

the government’s offer of proof. The Court accepted the government’s agreement to alert the Court

and defense counsel when questioning a witness regarding Defendant York’s tattoo. The Court

further instructed that any reference to the tattoo, in the event that evidence about it was admitted,

should not describe any religious imagery included in the tattoo. Consequently, this motion remains

pending.

       Accordingly, it is ORDERED that Defendant Laughton’s motion for a bill of particulars

[dkt #381], joined in by Defendant York [dkt #398] and previously joined in by Defendant Tice

[dkt #392], is DENIED.

       It is further ORDERED that Defendant Laughton’s motion for disclosure of Brady materials

[dkt #382], joined in by Defendant York [dkt #398] and previously joined in by Defendant Tice

[dkt #392], is DENIED.


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       It is further ORDERED that Defendant Laughton’s motion for disclosure of officers’ notes

[dkt #383] is DENIED.

       It is further ORDERED that Defendant Laughton’s motion to sever Defendants [dkt #384]

is DENIED.

       It is further ORDERED that Defendant York’s motion to compel discovery [dkt #390] is

DENIED.



                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge

Dated: June 27, 2007


                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on June 27, 2007.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




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